835 F.2d 874Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.In Re Joseph Marion HEAD, Jr., Appellant
    No. 87-7575.
    United States Court of Appeals, Fourth Circuit.
    Submitted Sept. 30, 1987.Decided Dec. 2, 1987.
    
      Joseph Marion Head, Jr., appellant pro se.
      Before DONALD RUSSELL, WIDENER, and SPROUSE, Circuit Judges.
      PER CURIAM:
    
    
      1
      A review of the record and the district court's opinion discloses that this appeal from that court's order dismissing the action is without merit.  Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the judgment below on the reasoning of the district court.  In Re:  Head, C/A No. 87-56-SH-C (W.D.N.C. Mar. 23, 1987).
    
    
      2
      AFFIRMED.
    
    